
	OSCN Found Document:IN RE: AMENDMENT TO THE OKLAHOMA SUPREME COURT RULES

	
				
            
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				IN RE: AMENDMENT TO THE OKLAHOMA SUPREME COURT RULES2014 OK 19Decided: 03/24/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 19, __ P.3d __

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL 
RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

IN RE: AMENDMENT TO THE OKLAHOMA SUPREME COURT RULES, 12 O.S. 
Ch. 15, App. 1.


ORDER ADOPTING AMENDMENT TO OKLAHOMA SUPREME COURT 
RULES
¶1 The Court has reviewed the recommendation of the Oklahoma Supreme 
Committee for Uniform Jury Instructions that Oklahoma Supreme Court Rule 1.28 be 
amended to include new material designated as paragraph 1.28(l) and codified 
immediately following paragraph 1.28(k).
¶2 The Court hereby adopts new paragraph 1.28(l) for Supreme Court Rule 
1.28,and it is therefore ordered, adjudged and decreed that paragraph 1.28(l), 
as set out herein shall be included and codified as paragraph 1.28(l) of 
Oklahoma Supreme Court Rule 1.28, 12 O.S.2001, Ch. 15, App., 1.
¶3 Paragraph 1.28(l) of Okla. Sup. Ct. R. 1.28 shall be effective sixty (60) 
days from the date this Order is filed with the Clerk of this Court.
¶4 New paragraph (l) of Okla. Sup. Ct. R. 1.28 shall state as follows:

  
    Okla. Sup. Ct. Rule 1.28 (l) Juror questionnaires
    (A) If appellate counsel designates the questionnaire of any juror, the 
    Clerk of the District Court shall transmit the sealed original 
    questionnaire(s) to the Clerk of the Supreme Court along with the rest of 
    the appellate record. Only the attorneys of record on appeal may view the 
    juror questionnaires at the office of the Oklahoma Supreme Court Clerk, and 
    attorneys shall not remove the juror questionnaires from the custody of the 
    Court. The attorneys of record on appeal may contact the Clerk to schedule a 
    date and time when the questionnaires may be viewed. The sealed juror 
    questionnaires may not be photocopied or removed from the Supreme Court 
    Clerk office.
    (B) After an appeal has been decided by this Court, or the Court has 
    denied A petition for writ of certiorari, the Oklahoma Supreme Court Clerk 
    shall continue to retain all questionnaires until the later of (1) the 
    expiration of time for filing a petition for a writ of certiorari in the 
    United States Supreme Court; or (2) the issuance of a notice of final 
    disposition by the United States Supreme Court. See Okla. Sup. Ct. R. 
    1.16 and Sup. Ct. R. 45-46. Thereafter, the Oklahoma Supreme Court Clerk 
    shall destroy all originals and photocopies of juror questionnaires.
    (C) Briefs and motions shall not refer to jurors by name, but shall use 
    initials or juror number instead.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THE 
13TH DAY OF MARCH, 2014.

/S/CHIEF JUSTICE

Colbert, C.J., Reif, V.C.J., Kauger, Watt, Edmondson, Combs and Gurich, JJ., 
- concur,
Winchester, J. - concurs in result,
Taylor, J. - concurs in part and dissents in part.
I would adopt all of the recommendations of the OUJI-CIV 
committee.




	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	Title 12. Civil Procedure&nbsp;CiteNameLevel&nbsp;12 O.S. RULE 1.28, RECORDCitedCitationizer: Table of AuthorityCite
		Name
		Level
	None Found.


				
					
					
				
             
         
        
            

		